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     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

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 8                IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                )   1:06-cr-0059 AWI
                                              )
12                    Plaintiff,              )
                                              )
13         v.                                 )   STIPULATION RE:
                                              )   CONTINUANCE AND ORDER
14   FRANCHESKA BRIZAN,                       )
                                              )
15                                            )
                    Defendant.                )
16   _________________________________        )

17

18         Defendant FRANCHESKA BRIZAN, by and through her attorney,

19   JEFFREY T. HAMMERSCHMIDT, and the United States of America, by and

20   through its attorneys, BENJAMIN B. WAGNER, United States Attorney,

21   and KAREN A. ESCOBAR, Assistant United States Attorney, hereby

22   enter into the following stipulation:

23         1.   The parties to the above-captioned matter agree to vacate

24   the February 28, 2011, hearing date and reset the matter for March

25   21, 2011, at 11:00 a.m. due to the unavailability of the

26   government’s attorney, who is required to serve jury duty on

27   February 28.

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 1   DATED: February 23, 2011                 Respectfully submitted,

 2                                                 BENJAMIN B. WAGNER
                                                   United States Attorney
 3
                                                   By: /s/ Karen A. Escobar
 4                                                   KAREN A. ESCOBAR
                                                   Assistant U.S. Attorney
 5
                                                    /s/ Jeffrey T.
 6                                                  Hammerschmidt
                                                    JEFFREY T. HAMMERSCHMIDT
 7                                                  Attorney for Defendant
                                                    FRANCHESKA BRIZAN
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                                         O R D E R
11
          Having read and considered the foregoing stipulation,
12
          IT IS THE ORDER of the Court that the current hearing date of
13
     February 28 is hereby vacated and is reset for March 21, 2011, at
14
     11:00 a.m.
15
     IT IS SO ORDERED.
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17   Dated:       February 24, 2011
     0m8i78                      CHIEF UNITED STATES DISTRICT JUDGE
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